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                     UNITED STATES COURT OF APPEALS                       FILED
                            FOR THE NINTH CIRCUIT                          MAY 22 2018
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
  OMAR VARGAS; et al.,                           No.   17-56764

                 Plaintiffs-Appellees,           D.C. No.
                                                 2:12-cv-08388-AB-FFM
   v.                                            Central District of California,
                                                 Los Angeles

  GINA DEBOSE, Lead “Opt-Out” Appellant, ORDER
  on behalf of herself and all others similarly
  situated; et al.,

                 Objectors-Appellants,

   v.

  FORD MOTOR COMPANY,

                 Defendant-Appellee.

  Before: THOMAS, Chief Judge, W. FLETCHER and CALLAHAN, Circuit
  Judges.

        Appellee’s motion to dismiss this appeal for lack of standing is granted

  (Docket Entry No. 11). See Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547, as

  revised (May 24, 2016).

        DISMISSED.




  ELF/MOATT
